         Case 1:19-cr-00127-AMD-ST Document 51 Filed 10/17/19 Page 1 of 1 PageID #: 273


CJA 20 APPOINTMENT OF AND AUTHORITY TO PAY COURT-APPOINTED COUNSEL(Rev. 07/17)
I. CIR,/DIST7DIV.C0DE                     2, PERSON REPRESENTED                                                                       VOUCHER NUMBER
 EDNY                                      Lucio Celli
3. MAG. DKT./DEF. NUMBER                              4. DisT, dkt.;def. number                       5. APPEALS DKT./DEF. NUMBER                          6, OTHER DKT. NUMBER
                                                       19cr127(AMD)
7. IN CASE/MATTER OF(Case Name)                       8. PAYMENT CATEGORY                             9. TYPE PERSON REPRESENTED                           10. REPRESENTATION TYPE
                                                         Felony                 □ Petty Offense       ^ Adult Defendant                    □ Appellant         (See Instructions)
                                                      □ Misdemeanor             □ Other               □ Juvenile Defendant                 □ Appellee
 USAv. Celli
                                                      □ Appeal                                        □ Other
                                                                                                                                                           CO
11. OFFENSE(S) CHARGED (Cite U.S. Code, Title & Section) Ifmore than one ojfense, list (up tofive) major offenses charged, according to severity of offense.


12. ATTORNEY'S NAME (First Name, M.I, Last Name, including any suffix),                               13. COURTORDER
      AND MAILING ADDRESS                                                                                     0 Appointing Counsel                         □ C Co-Counsel
                                                                                                          □ F Subs For Federal Defender                    □ R Subs For Retained Attorney
 Kenneth Montgomery                                                                                       □ P Subs For Panel Attorney                      □ Y Standby Counsel
 198 Rogers Avenue
 Brooklyn NY 11225                                                                                    Prior Attorney's
                                                                                                         Appointment Dates:
                                                                                                       n Because the above-named person represented has testified under oath or has otherwise
      Telephone Number:                              (718)403-9261                                    satisfied this Court tliai lie or shejl 'I Is^inanciallv pnnblSuo employ counsel and (2) does
                                                                                                      not wish to waive counsel. andyKeeuua th^nieresfe of justice so require.Ai ajfojney whose
14. NAME AND MAILING ADDRESS OF LAW FIRM (Onlyprovide per instructions)                               name appears in Item 12 is aapointctnt^p^sent      pe^s^idn this easel 9R

 Kenneth Montgomery
                                                                                                          □ Other (See In.slriiclinii.s)
                                                                                                                                             s/Ann M. Donnelly
 198 Rogers Avenue
                                                                                                                               Signature of Pr siding Judge or By Order of the Court
 Brooklyn NY 11225
                                                                                                                           10/17/2019
 718-403-9261
 ken(gkjmontgomerylaw.com                                                                                                   Dale of Order                              Nunc Pro Tune Date
                                                                                                      Repayment or partial repayment ordered from the person represented for this ser\'ice at time
                                                                                                      appointment.             Q YES          Q    NO

                           CLAIM FOR SERVICES AND EXPENSES                                                                                          FOR COURT USE ONLY
                                                                                                                   TOTAL               MATH/TECH.            MATH/TECH.
                                                                                          HOURS                                                                                     ADDITIONAL
        CATEGORIES (Attach itemization of services with dates)                                                    AMOUNT                   ADJUSTED           ADJUSTED
                                                                                         CLAIMED                                                                                       REVIEW
                                                                                                                 CLAIMED                    HOURS              AMOUNT

15.     a. Arraignment and'or Plea                                                                                         0.00                                         0.00
        b. Bail and Detention Hearings                                                                                     0.00                                         0.00
        c. Motion Hearings                                                                                                 0.00                                         0.00
        d. Trial                                                                                                           0.00                                         0.00
        e. Sentencing HcarinBs                                                                                                                                          0.00
        f. Revocation lIcarinBS                                                                                            0.00                                        iLQL
           Appeals Court                                                                                                  ilQ£L                                        JL2Q.
        h. Oilier (Specify on additional .sheets)                                                                         JIM.                                         jML
        (RATE PER HOUR = S                                        TOTALS:                          0.00                    0.00                     0.00                0.00
        a. Interviews and Conferences
           nucivicws mm   ^vmciciiirva                                                                                     0.00                                         0.00
           Obtaininjr and reviewinu records                                                                                0.00                                         0.00
        c- Leital research and brief writinu                                                                               0.00                                         0.00
        d. Travel time                                                                                                     0.00                                         0.00
        e. Investisaiive and other work (Speciff on additional sheets)                                                    A22.                                          0.00
        (RATE PER HOUR = S                                 )      TOTALS;                          0.00                    0.00                     0.00                0.00

        Travel Expenses (lodging, parking, meals, mileage, etc.)
        Dtlier Expenses (other than ex/xrt. iranscripi.s. etc.)
GRAND TOTALS (CLAIMED AND ADJUSTED);                                                                                       0.00                                         0.00
19, CERTIFICATION OF ATTORNEY/PAYEE FOR THE PERIOD OF SERVICE                                                 20. APPOINTMENTTERMINATION DATE                          21. CASE DISPOSITION
                                                                                                                  IF OTHER THAN CASE COMPLETION
      FROM:                                              TO:

22. CLAIM STATUS                    Q Final Payment                 □ Interim Payment Number                                                 n Supplemental Pa^nnent
      Have you previously applied to the court for compensation and/or reimbursement for this case? □ YES □ NO                 If yes, were you paid? □ YES □ NO
      Oliier than from the Court, have you, or to your knowledge has anyone else, received payment (compen.saiion or anything of value) from any other source in connection with this
      representation? □ YES           □ NO            If yes, give details on additional sheets.
      I swear or affirm the truth or correctness of the above statements.

      Signature of Attorney                                                                                                                       Dale


                                                            APPROVED FOR PAYMENT — COURT USE ONLY
23. IN COURT COMP.                      24. OUT OF COURT COMP.              25. TRAVEL EXPENSES                  26. OTHER EXPENSES                        27. TOTAL AMT. APPR./CERT.
                                                                                                                                                           $0.00
28. SIGNATURE OF THE PRESIDING JUDGE                                                                             DATE                                      28a. JUDGE CODE


29. IN COURT COMP.                      30. OUT OF COURT COMP.              31. TRAVEL EXPENSES                  32. OTHER EXPENSES                        33. TOTAL AMT, APPROVED
                                                                                                                                                           $0.00
34. SIGNATURE OF CHIEF JUDGE. COURT OF APPEALS (OR DELEGATE) faymeni approved                                    DATE                                      34b- JUDGE CODE
      in excess of the siaiutory threshold amount.
